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 8                              UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    MAURICE DIAUNDRA ROGERS,                     No. 2:23-cv-0238 DJC KJN P
12                     Petitioner,
13           v.                                    ORDER
14    JEFF LYNCH,
15                     Respondent.
16

17          Petitioner, a state prisoner proceeding pro se, has filed this application for a

18   writ of habeas corpus pursuant to 28 U.S.C. § 2254. The matter was referred to a

19   United States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule

20   302.

21          On August 28, 2023, the Magistrate Judge filed findings and recommendations

22   herein which were served on all parties and which contained notice to all parties that

23   any objections to the findings and recommendations were to be filed within twenty-

24   one days. Petitioner filed objections to the findings and recommendations.

25   Respondent did not file a reply.

26          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule

27   304, this Court has conducted a de novo review of this case. Having carefully

28   reviewed the entire file, the court finds the findings and recommendations to be
                                                  1
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 1   supported by the record and by proper analysis.

 2           Accordingly, IT IS HEREBY ORDERED that:

 3           1. The findings and recommendations filed August 28, 2023, are adopted in

 4   full;

 5           2. Petitioner’s motions (ECF Nos. 15, 16 & 17) are denied;

 6           3. Respondent’s motion to dismiss (ECF No. 13) is granted;

 7           4. The petition (ECF No. 1) is dismissed; and

 8           5. Within thirty days from the date of service of this order, petitioner shall file an

 9   amended petition raising only his exhausted claim (claim one).

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             IT IS SO ORDERED.
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13   Dated:      November 17, 2023
                                                     Hon. Daniel J. Calabretta
14                                                   UNITED STATES DISTRICT JUDGE
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